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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
SECTION “Kk”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG. WILKINSON

MEMORANDUM IN SUPPORT OF MOTION FOR EXPEDITED HEARING

GOTECH, Inc. files this Motion for Expedited Hearing to have its Motion for Summary
Judgment heard on the same date as a virtually identical motion of Burk-Kleinpeter, Inc. and other
engineers [Doc. 463, referred to as “Engineers” Joint Motion” |, now scheduled for hearing on August
25, 2006.

The other engineering firms in this case have filed an Engineers’ Joint Motion, asking that
the case against them be dismissed, because (1) they did not perform work on certain portions of the
failed levees as alleged; or (2) the claims are perempted on the engineering work those firms did
indeed perform. This Engineers’ Joint Motion was filed by Burk-Kleinpeter, Inc., Eustis
Engineering and Modjeski and Masters, Inc. [Doc. 463] and recites the facts and law in great detail.

GOTECH, Inc. only provided engineering and surveying services on the London Avenue
Canal and then only as a subconsultant to BKI. Accordingly, the interests of GOTECH and BK] are

identical on those two issues. In fact, the GOTECH motion specifically adopts the facts, exhibits

and legal arguments of the Engineers’ Joint Motion.

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Allowing the GOTECH Motion to go forward on August 25, 2006 with the Joint Motion will
only add a small amount of information to be considered by opposing parties. The only additional
information will be that GOTECH served as a subconsultant to BKI and that GOTECH also
concluded its work more than ten years prior to Hurricane Katrina and the filing of the resultant

lawsuits.

THEREFORE, GOTECH, Inc. asks that its Motion for Summary Judgment be heard on

August 25, 2006, along with the other Motions scheduled for that date.

By attorneys:

LONG, LAW FIRM, L.L.P.

ind Mr

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CERTIFICATE

I HEREBY CERTIFY that a copy of the above and foregoing has been forwarded to all
counsel of record via electronic mail.

Baton Rouge, imap ree

ADRIAN G. NADEAU

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